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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA


GARIBALDI ENCARNACION                                  CIVIL ACTION

VERSUS                                                 NO. 10-4336

BP EXPLORATION & PRODUCTION, INC. ET AL                SECTION “E” (2)



                           ORDER OF PARTIAL DISMISSAL


      The Court entered an order on June 20, 2012 directing the plaintiff to move for entry

of default against defendant Canal Barge Company or show cause in writing within 30 days

why his claims against that defendant should not be dismissed for failure to prosecute

(record document #61). More than 30 days have now expired and no responsive pleadings

have been filed by the defendant, nor has a default been entered, accordingly;

      IT IS ORDERED, that the claims of plaintiff against defendant Canal Barge Company

are dismissed without prejudice for failure to prosecute.

      New Orleans, Louisiana, this        day of July, 2012.




                                                          SUSIE MORGAN
                                                   UNITED STATES DISTRICT JUDGE
